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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

JANICE HAMPTON,                        )
                                       )
            Plaintiff,                 )
v.                                     )        No. 18-1191-STA-atc
                                       )
MADISON COUNTY, TENNESSEE,             )
                                       )
            Defendant.                 )
______________________________________________________________________________

   ORDER DENYING MOTION TO APPOINT COUNSEL WITHOUT PREJUDICE
          ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
ORDER DENYING PLAINTIFF’S MOTION TO PROCEED IN FORMA PAUPERIS ON
                                 APPEAL
______________________________________________________________________________

       Before the Court is Plaintiff’s Janice Hampton’s Motion to Appoint Counsel (ECF No.

92) and Motion to Proceed In Forma Pauperis on Appeal (ECF No. 93). Plaintiff, who is acting

pro se, filed a Notice of Appeal (ECF No. 91) on June 3, 2021. In her request for counsel,

Plaintiff asks the United States Court of Appeals for the Sixth Circuit to appoint an attorney to

represent her on appeal. This Courts finds it unnecessary to decide that issue and will defer to

the Court of Appeals. Therefore, the Motion is DENIED but without prejudice to request

appointment of counsel at the Court of Appeals.

       In her IFP Motion, she requests permission to proceed without paying the appellate filing

fee. Plaintiff has attached a financial affidavit to her Motion, showing her current financial

position. Federal Rule of Appellate Procedure 24(a) allows a party to appeal in forma pauperis

“without further authorization” if the party “was permitted to proceed in forma pauperis in the

district court action.” Fed. R. App. P. 24(a)(3). The authorization, once granted in the district

court, continues to the appellate circuit, “unless the district court—before or after the notice of

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appeal is filed—certifies that the appeal is not taken in good faith or finds that the party is not

otherwise entitled to proceed in forma pauperis and states in writing its reasons for the

certification or finding.” Id.

       Rule 24(a)’s good faith standard is an objective one. Coppedge v. United States, 369 U.S.

438, 445 (1962). The test for whether an appeal is taken in good faith is whether the litigant

seeks appellate review of any issue that is not frivolous. Id. The Court dismissed Plaintiff’s case

on May 4, 2021, as a discovery sanction under Federal Rule of Civil Procedure 37 and for her

failure to prosecute her case under Rule 41(b). Plaintiff’s affidavit cites three issues she intends

to raise on appeal: (1) the COVID-19 pandemic interfered with Plaintiff’s ability to obtain “vital

information;” (2) Plaintiff’s lack of resources prevented her from “mak[ing] payment to get

evidence[s]” or hiring counsel; and (3) some of the Court’s rulings contained “incorrect

information.” Pl.’s Aff. (ECF No. 93).

       The same considerations that led the Court to grant Defendant's motion to dismiss the

case as a discovery sanction also compel the conclusion that an appeal would not be taken

in good faith. It is therefore CERTIFIED, pursuant to § 1915(a)(3), that any appeal in this matter

by Plaintiff would not be taken in good faith and Plaintiff may not proceed on appeal in forma

pauperis. Leave to proceed on appeal in forma pauperis is, therefore, DENIED. The Clerk is

directed to transmit copies of this order to the United States Court of Appeals for the Sixth

Circuit.

       IT IS SO ORDERED.

                                              s/ S. Thomas Anderson
                                              S. THOMAS ANDERSON
                                              UNITED STATES DISTRICT JUDGE

                                              Date: June 7, 2021



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